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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )             MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

under 28 U.S.C. § 2255 to vacate, set aside or correct sentence

by a person in federal custody (Filing No. 140), seeking a

correction of his sentence.         The Court has reviewed defendant’s

motion and finds it is unnecessary for the government to file a

response.

            The motion will be denied for several reasons.               First,

the defendant entered into a plea agreement with the government

(Filing No. 82) dated April 23, 2009.           Paragraph 13 of that plea

agreement provides in part:

                 The Defendant further knowingly and
                 expressly waives any and all rights
                 to contest the Defendant’s
                 conviction and sentence in any
                 post-conviction proceedings,
                 including any proceedings under 28
                 U.S.C. § 2255. except:

                    (a) The right to timely
                 challenge Defendant’s conviction
                 and the sentence of the Court
                 should the Eighth Circuit Court of
                 Appeals or the United States
                 Supreme Court later find that the
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                 charge to which Defendant is
                 agreeing to plead guilty fails to
                 state a crime.

                    (b) The right to seek post
                 conviction relief based on
                 ineffective assistance of counsel,
                 or prosecutorial misconduct, if the
                 grounds for such claim could not be
                 known by the Defendant at the time
                 the Defendant enters the guilty
                 plea contemplated by this plea
                 agreement.

           Neither of these exceptions apply.            Accordingly, the

defendant has waived his right to file this § 2255.               The Court

has also reviewed defendant’s specific objections.               His first

objection is that he did not receive full credit for acceptance

of responsibility as provided in § 3E1.1 of the guidelines.                  The

Court has reviewed the file in this matter and notes that in

calculating defendant’s offense level, he was given the full

three-level reduction for acceptance of responsibility.

Accordingly, that ground has no merit.

           With respect to his claim under § 5K1.1 of the

sentencing guidelines, the Court notes that an adjustment

pursuant to this section of the guidelines requires that a motion

be filed by the government, stating that the defendant has met

the five conditions in the guidelines to support a downward

adjustment of his sentence.         No such motion was filed.

           With respect to § 3B1.2 of the sentencing guidelines,

the plea agreement provides in Paragraph 6(b): “The parties agree


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that the defendant is not subject to either upward or downward

adjustment in offense level for role in the offense pursuant to

USSG §§ 3B1.1 and 3B1.2.”

           The sentence in this case represents the mandatory

minimum sentence established by Congress as the defendant agreed

that he should be held responsible beyond a reasonable doubt for

more than 500 grams but less than 2 kilograms of cocaine.

           For all of the foregoing reasons, defendant’s motion

will be denied.    A separate order will be entered in accordance

with this memorandum opinion.

           DATED this 25th day of January, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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